           Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 1 of 60



Jeffrey Peterson
6 Liberty Square, #340
Boston, MA 02109
Phone: (617) 500-4980
Fax: (617) 804-0441
Plaintiff Pro Se
E-mail: legal@ieffi-evpetersonxom


                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS



JEFFREY PETERSON,                             Case No.:

               Plaintiff,
                                              COMPLAINT
vs.


                                              JURY TRIAL REQUESTED
DENNIS K. BURKE, MARCO A.
LOPEZ JR., LUIS BORBON
HOLGUIN, VICTOR FLORES, LISA
FLORES, MARIO E. DIAZ, JANE DOE
DIAZ, SUZANNE BARR, DAVID
LOPEZ, GANNETT CO., INC.,
PHOENIX NEWSPAPERS, INC. DBA
ARIZONA REPUBLIC, CRAIG
HARRIS, THE DEMOCRATIC
NATIONAL COMMITTEE; JOHN
AND JANE DOES I-10; BLACK
CORPORATIONS 1-10; WHITE
ENTITIES 1-10,

               Defendants

                                                                        \




      Plaintiff Jeffrey Peterson, for his complaint in this matter, upon information and

belief, alleges as follows:
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 2 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 3 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 4 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 5 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 6 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 7 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 8 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 9 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 10 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 11 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 12 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 13 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 14 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 15 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 16 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 17 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 18 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 19 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 20 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 21 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 22 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 23 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 24 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 25 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 26 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 27 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 28 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 29 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 30 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 31 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 32 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 33 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 34 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 35 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 36 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 37 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 38 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 39 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 40 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 41 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 42 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 43 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 44 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 45 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 46 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 47 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 48 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 49 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 50 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 51 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 52 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 53 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 54 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 55 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 56 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 57 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 58 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 59 of 60
Case 1:18-cv-12572-NMG Document 1 Filed 12/14/18 Page 60 of 60
